    Case 4:22-cv-00304-MW-MAF Document 105 Filed 02/28/23 Page 1 of 12




                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

LEROY PERNELL, et al.,

      Plaintiffs,

      v.                                     No. 4:22-cv-304-MW-MAF

FLORIDA BOARD OF GOVERNORS
OF THE STATE UNIVERSITY SYSTEM, et al.,

     Defendants.
_________________________________

                    MOTION TO STAY DISCOVERY ORDER

      On January 13, 2023, fourteen members of the Florida House of

Representatives (“the Members”) moved to quash subpoenas served on them.

ECF91. On February 22, the Court denied that motion in part, ordering the Members

to produce responsive “[d]ocuments containing factually based information used in

the decision-making process or disseminated to legislators or committees.” ECF100

at 20. The Members filed a timely notice of appeal on February 28. ECF104. They

now respectfully ask this Court to stay its February 22 order while the appeal is

pending. See In re Hubbard, 803 F.3d 1298, 1305–07 (11th Cir. 2015) (holding that

denied legislative privilege claims are immediately appealable and explaining that

the Eleventh Circuit had “stayed the district court’s production order pending [its]

decision”). In the alternative, the Members respectfully ask the Court to



                                         1
     Case 4:22-cv-00304-MW-MAF Document 105 Filed 02/28/23 Page 2 of 12




administratively stay its February 22 order while they seek a stay pending appeal

from the Eleventh Circuit.

I.    THE COURT SHOULD ORDER A STAY PENDING APPEAL.

      A stay pending appeal turns on four factors:

          1. the likelihood the moving party will prevail on the merits;

          2. the prospect of irreparable injury to the moving party if relief is
             withheld;

          3. the possibility of harm to other parties if relief is granted; and

          4. the public interest.

11th Cir. R. 27-1(b)(2). Here, every factor favors a stay.

      A. The Members Are Substantially Likely to Succeed on the Merits.

      1. The Court ordered the Members to produce “purely factual documents,

including bill drafts, bill analyses, white papers, studies, and news reports provided

by or to the Legislators and their staff members” on the grounds that those materials

“do not fall within the scope of” the legislative privilege. ECF100 at 6. That conflicts

with the Eleventh Circuit’s decision in Hubbard.

      As Hubbard explains, unlike the attorney-client privilege, which shields

particular materials based on their content, legislative privilege bars a particular type

of inquiry—“inquiry into acts that occur in the regular course of the legislative

process and into the motivation for those acts.’” 803 F.3d at 1310 (emphasis omitted)

(citation omitted). It is the “claim” that “defines the purpose of the subpoenas, which


                                           2
    Case 4:22-cv-00304-MW-MAF Document 105 Filed 02/28/23 Page 3 of 12




in turn answers the question of whether the privilege applies.” Id. at 1311 n.12.

Because in Hubbard “[t]he subpoenas’ only purpose was to support the lawsuit’s

inquiry into the motivation behind” the challenged law, the Eleventh Circuit quashed

the inquiry entirely, rejecting a document-by-document approach. Id.

      The same should have happened here. The “factual heart” of Plaintiffs’ equal

protection claim “and the scope of the legislative privilege [are] one and the same:

the subjective motivations of those acting in a legislative capacity.” Hubbard, 803

F.3d at 1311. The sole reason for the subpoenas was to “determine whether racial

discrimination ‘was a motivating factor’” in the Legislature’s decision to enact the

challenged law. ECF96 at 2 (quoting Vill. of Arlington Heights v. Metro. House.

Dev. Corp., 429 U.S. 252, 265 (1977)); see ECF100 at 2 (“Pursuing evidence of

discriminatory intent, Plaintiffs subpoenaed documents from thirteen Florida

legislators who cosponsored HB 7 in the Florida House of Representatives and a

fourteenth legislator who vocally supported HB 7 in the Florida House of

Representatives.”). Accordingly, the subpoenas should have been quashed.

      2. The Court held in the alternative that, “[t]o the extent an inference could be

drawn that the transmission or receipt of such factual information evidences a

Legislator’s motivation with respect to legislation and thus falls within the scope of

Legislative privilege,” the “privilege must yield in this case.” ECF100 at 9. That was

error because “a state legislator’s common-law . . . immunity from civil suit” is



                                          3
     Case 4:22-cv-00304-MW-MAF Document 105 Filed 02/28/23 Page 4 of 12




“absolute,” United States v. Gillock, 445 U.S. 360, 372 (1980) (discussing Tenney v.

Brandhove, 341 U.S. 367 (1951)), and as this Court’s order recognizes, legislative

immunity and legislative privilege are “‘parallel concept[s],’” ECF100 at 3 (quoting

EEOC v. Wash. Suburban Sanitary Comm’n, 631 F.3d 174, 180 (4th Cir. 2011)).

      To be sure, “the Eleventh Circuit and the Supreme Court have explained that

‘a state lawmaker’s privilege’” may give way to “important federal interests such as

‘the enforcement of federal criminal statutes.’” ECF100 at 7 (citing Hubbard, 803

F.3d at 1311, and Gillock, 445 U.S. at 373). But that was a reference to the sovereign

interest in enforcing a federal statute that supersedes otherwise applicable common-

law privileges. Gillock, 445 U.S. at 373. In other words, the privilege is absolute but,

like every common-law doctrine, may be modified or abrogated by Congress.

      In Gillock, the Supreme Court held that the privilege yielded in a federal

bribery prosecution. 445 U.S. at 362, 373. In that context, Congress had acted “to

make state [legislators], like all other persons, subject to federal criminal sanctions,”

and given that circumstance, the Court “discern[ed] no basis . . . for a judicially

created limitation that handicaps proof of the relevant facts.” Id. at 374. That made

Gillock very different from Tenney, a private civil case brought under Section 1983

in which the Supreme Court held that “a state legislator’s common-law absolute

immunity from civil suit survived” that enactment because Congress did not clearly

intend otherwise. Id. at 372 (discussing Tenney).



                                           4
     Case 4:22-cv-00304-MW-MAF Document 105 Filed 02/28/23 Page 5 of 12




      Tenney makes clear that Congress did not intend to abrogate the “absolute”

privilege when it enacted Section 1983—the statute at issue here. See Gillock, 445

U.S. at 372 (discussing Tenney). And Gillock makes crystal clear that “Tenney and

subsequent cases on official immunity have drawn the line at civil actions.” 445 U.S.

at 373. Thus, even if Gillock qualifies the privilege in some civil cases, it does so

only when the federal government enforces an act of Congress clearly intended to

abrogate the privilege, as in a federal prosecution. See Brown & Williamson Tobacco

Corp. v. Williams, 62 F.3d 408, 419–20 (D.C. Cir. 1995) (“[S]ensitivities to the

existence of criminal proceedings . . . suggest that the testimonial privilege might be

less stringently applied when inconsistent with a sovereign interest, but is ‘absolute’

in all other contexts.”). This is no such case.

      3. The Court’s ruling is a significant departure even from the district courts

that have applied the same five-factor test to assertions of legislative privilege. As

those courts have explained, “the [five] factors will weigh against disclosure and in

favor of upholding the privilege in all but the extraordinary case.” Citizens Union of

N.Y. v. Att’y Gen. of N.Y., 269 F. Supp. 3d 124, 156 (S.D.N.Y. 2017). The Court’s

order does the opposite, guaranteeing at least partial disclosure of core legislative

materials even in a mine-run case.

      The order agrees that “individual legislators’ motivations are not particularly

relevant to the overall legislative motive,” ECF100 at 10, and that the need to avoid



                                           5
     Case 4:22-cv-00304-MW-MAF Document 105 Filed 02/28/23 Page 6 of 12




“‘chill[ing] legislative debate’” weighed “heavily in favor of non-disclosure,” id. at

12. But the order requires disclosure of “some of the most relevant evidence under

Arlington Heights,” id. at 13, i.e., evidence of legislative motive, principally because

“Plaintiffs are seeking to vindicate public right[s] that impact thousands” and other

sources of evidence might be hard to come by, id. at 11. If legislators and their staff

must search for, review, and produce documents here, they may well be ordered to

do so in the many other, similar cases that are filed after each legislative session.

      It is no answer that “this Court has already determined that the challenged

provisions, on their face, violate the First Amendment and the Fourteenth

Amendment’s Due Process Clause.” ECF100 at 11–12. The Court has not

determined that the statute was enacted with invidiously discriminatory intent, as

Arlington Heights requires. The Court’s determination that the statute is likely

unconstitutional for wholly different reasons only underscores that there is no need

for disclosure of privileged materials at all.

      Nor is the order innocuous because it requires disclosure only of documents

like “draft bills” and “bill analyses.” ECF100 at 18. Those materials capture the

preliminary views of legislators and staff no less than a discussion by e-mail—which

the Court’s order protects—and are vital to the process of crafting, proposing, and

revising legislation. The order thus discourages members from the drafting process




                                           6
    Case 4:22-cv-00304-MW-MAF Document 105 Filed 02/28/23 Page 7 of 12




altogether, lest they be required to search for and produce out-of-context materials

in support of allegations against them.

      B. The Other Factors Favor a Stay.

      As the Court has observed, the primary purpose of legislative privilege is to

shield legislators “from political wars of attrition in which their opponents try to

defeat them through litigation rather than at the ballot box.” Wash. Suburban

Sanitary Comm’n, 631 F.3d at 181. That goal is defeated the moment inquiry into

legislative motives is allowed to proceed. A stay pending appeal is therefore

necessary to prevent irreparable harm to the Members.

      On the other side of the ledger, Plaintiffs will suffer no harm from a stay

pending appeal. The case can continue while this narrow discovery issue is before

the Eleventh Circuit. And to the extent Plaintiffs believe the evidence at issue is so

important that the whole case must be stayed, the law at issue is currently enjoined,

so it cannot harm Plaintiffs or anyone else. To alleviate any remaining concern, the

Members will seek expedited treatment in the Eleventh Circuit.

      As for the public interest, a stay is necessary because the privilege “protects

the legislative process itself” to the same extent it protects individual legislators.

Hubbard, 803 F.3d at 1308. Concern that an early bill draft, for example, will be

made public, taken out of context, and used to embarrass the drafter plainly will chill

the drafting process to the detriment of the process and the public. And to whatever



                                          7
     Case 4:22-cv-00304-MW-MAF Document 105 Filed 02/28/23 Page 8 of 12




extent Plaintiffs’ interest in the merits of this case aligns with the public’s, the

Court’s preliminary injunction ensures that any delay resolving this discovery issue

poses no threat to the public interest.

                                   CONCLUSION

      For the foregoing reasons, the Members respectfully ask the Court to stay its

February 22, 2023 discovery order while the Members appeal that order. In the

alternative, the Members ask the Court to administratively stay the order while they

seek a stay pending appeal from the Eleventh Circuit.




                                          8
Case 4:22-cv-00304-MW-MAF Document 105 Filed 02/28/23 Page 9 of 12




                     Respectfully submitted,

                     ASHLEY MOODY
                     Attorney General

                     HENRY C. WHITAKER (FBN 1031175)
                       Solicitor General
                     /s/ Daniel William Bell
                     DANIEL WILLIAM BELL (FBN 1008587)
                       Chief Deputy Solicitor General
                     EVAN EZRAY (FBN 1008228)
                       Deputy Solicitor General
                     OFFICE OF THE ATTORNEY GENERAL
                     PL-01 the Capitol
                     Tallahassee, Florida 32399
                     (850) 414-3300
                     (850) 410-2672 (fax)
                     daniel.bell@myfloridalegal.com

                     DAVID AXELMAN (FBN 90872)
                        General Counsel
                     J. MICHAEL MAIDA (FBN 95055)
                        Deputy General Counsel
                     The Florida House of Representatives
                     329 The Capitol
                     Tallahassee, Florida 32399
                     (850) 717-5500
                     david.axelman@myfloridahouse.gov

                     Counsel for Representatives Andrade, Bell, Borrero,
                     Fernandez-Barquin, Fine, Maggard, Massullo,
                     McClain, Overdorf, Payne, Roth, Shoaf, Sirois, and
                     Truenow




                                9
    Case 4:22-cv-00304-MW-MAF Document 105 Filed 02/28/23 Page 10 of 12




                      CERTIFICATE OF CONFERRAL

      Consistent with Local Rule 7.1(B), undersigned counsel conferred with

Plaintiffs in good faith about the relief requested in this motion, which Plaintiffs

oppose.




                                        10
Case 4:22-cv-00304-MW-MAF Document 105 Filed 02/28/23 Page 11 of 12




                 CERTIFICATE OF WORD COUNT

  Consistent with Local Rule 7.1(F), this motion contains 1677 words.




                                   11
    Case 4:22-cv-00304-MW-MAF Document 105 Filed 02/28/23 Page 12 of 12




                          CERTIFICATE OF SERVICE

      I hereby certify that on this 28th day of February, 2023, a true and correct

copy of the foregoing was filed with the Court’s CM/ECF system, which will

provide service to all parties.

                                            /s/ Daniel William Bell
                                            Chief Deputy Solicitor General




                                       12
